
USCA1 Opinion

	














                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit

                                 ____________________
        No. 95-2027

                             SANDRA RODRIGUEZ-HERNANDEZ,

                                 Plaintiff, Appellee,

                                          v.

                             EDWIN MIRANDA-VELEZ, ET AL.,

                               Defendants, Appellants.

                                 ____________________
        No. 96-1416

                             SANDRA RODRIGUEZ-HERNANDEZ,

                                 Plaintiff, Appellee,

                                          v.

                             EDWIN MIRANDA-VELEZ, ET AL.,

                               Defendants, Appellants.

                                 ____________________
        No. 97-1444

                             SANDRA RODRIGUEZ-HERNANDEZ,

                                 Plaintiff, Appellee,

                                          v.

                             EDWIN MIRANDA-VELEZ, ET AL.,

                               Defendants, Appellants.

                                 ____________________



        No. 97-1445




















                             SANDRA RODRIGUEZ-HERNANDEZ,

                                Plaintiff, Appellant,

                                          v.

                             EDWIN MIRANDA-VELEZ, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                    APPEAL FROM THE UNITED STATES DISTRICT COURT 

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jose Antonio Fuste, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Lynch, Circuit Judge,
                                       _____________
                              Cyr, Senior Circuit Judge,
                                   ____________________
                           and DiClerico,* District Judge.
                                           ______________

                                 ____________________


            Judith Berkan,  with whom  Rosalinda Pesquera and  Mary Jo  Mendez
            _____________              __________________      _______________
        were on brief, for plaintiff.
            Eugene  F. Hestres, with whom  Bird, Bird &amp; Hestres  was on brief,
            __________________             ____________________
        for defendants.
            Frank D. Inserni on brief pro se.
            ________________

                                 ____________________

                                   January 6, 1998

                                 ____________________








                            
        ____________________

        *  Of the District of New Hampshire, sitting by designation.


















                      LYNCH, Circuit  Judge.   Sandra Rodriguez-Hernandez
                      LYNCH, Circuit  Judge.
                             ______________

            was discharged from her job at Occidental International after

            complaining  to her  employer about  being  subjected to  the

            sexual demands of a high-level executive at Occidental's most

            important customer.  The main issues presented by this appeal

            are  whether the  jury's  verdict in  favor  of the  customer

            dictates that the  verdict against her employer  be reversed;

            whether   the  court's   evidentiary  and   juror  peremptory

            challenge rulings were  correct; whether  the district  court

            evinced  bias against the defendants; and whether the court's

            attorney's fees award was adequate.   We affirm the  verdict,

            but we vacate and remand on the attorney's fees issue.



                                          I.

                      We review the facts in  the light most favorable to

            the jury's verdict.  See Ansin v. River Oaks Furniture, Inc.,
                                 ___ _____    __________________________

            105 F.3d 745, 749 (1st  Cir. 1997), cert. denied, 118 S.  Ct.
                                                ____________

            70 (1997).

                      Rodriguez   worked   as  an   office   manager  for

            Occidental International, a Florida  company with offices  in

            Florida  and  Puerto  Rico.   Rodriguez  started  working for

            Occidental  in  December of  1988 in  the Traffic  and Claims

            division of the Puerto Rico  office.  She was twice promoted,

            and was put  in charge of overseeing the  daily operations of

            her office in February of 1990.  While she was never formally
















            evaluated during  her employment, Rodriguez  received regular

            praise for her work, and  before the suspension and dismissal

            that led to this lawsuit,  she had never been the subject  of

            disciplinary action.

                      Occidental  International   sells  electrical   and

            industrial equipment.  Occidental's most important market was

            Puerto Rico, and its most  important customer was the  Puerto

            Rico Electric  Power Authority  ("PREPA").   At  the time  of

            Rodriguez's  dismissal,  approximately  80%  of  Occidental's

            business in Puerto Rico was with PREPA.

                      Omar Chavez was the President and sole  shareholder

            of  Occidental.   Chavez  lived  in Florida,  and  would make

            monthly  business trips  to Puerto  Rico.   Chavez pursued  a

            number  of strategies which he thought would ensure continued

            good  relations   between  Occidental   and  its   customers,

            particularly  with PREPA.  Evidence presented at trial showed

            that Chavez primarily employed young, attractive women, known

            to customers as "Occidental Gals," and  instructed them to be

            especially cordial to PREPA employees.  

                      Good  relations  were particularly  important  with

            high-ranking PREPA  officials like  Edwin Miranda-Velez,  the

            Chief  of  PREPA's  Materials  Management  Division  and  the

            overseer of  PREPA's public contracts  for the type  of goods

            sold  by Occidental.  Chavez introduced Rodriguez to Miranda,

            and told her that Miranda was very important for Occidental's



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            business and that she and  the other employees should be nice

            to him and "keep him satisfied."  She was instructed to visit

            Miranda every time she went to the PREPA offices.

                      Occidental  pursued  other  strategies.    It  made

            political contributions to  the Popular Democratic  Party, of

            which  Miranda  was  a  very  active  member,  and  solicited

            donations on its  behalf.  Chavez financed  social activities

            for  PREPA employees  and gave  Christmas  presents to  PREPA

            officials.   In December  of 1990, Chavez  threw a  party for

            PREPA  officials  at a  local  hotel.    The members  of  the

            Occidental  Puerto Rico staff, all female, were instructed to

            attend the event unaccompanied, so they would be available to

            dance with the  PREPA executives.  The  night's entertainment

            at  that party included a dancing  show performed by scantily

            clad women.

                      The  close   relationship  with   PREPA  benefitted

            Occidental, and Chavez, in several  ways.  Chavez was able to

            learn from  Miranda in advance  what bids would be  coming up

            and  how much Occidental's competitors were bidding.  Miranda

            helped to steer  business to Occidental through  requests for

            proposals  that were  handled  outside  the ordinary  bidding

            process.   For example, Miranda helped Occidental to obtain a

            transportation  contract  on an  "emergency" basis.   Miranda

            signed all pertinent  documentation and recommended  payments





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            to suppliers.   There were also allegations that  Miranda was

            able to help Occidental avoid trouble over tax disclosures.

                      Miranda  began  to  make  unwelcome approaches  and

            suggestive  comments to  Rodriguez.   He invited  her out  to

            dinner.  He  asked her to visit his office after hours and on

            Friday evenings.   He  anonymously sent  her flowers for  her

            birthday  and included a  sexually explicit card.   Rodriguez

            complained to Chavez about this behavior; Chavez responded by

            stressing that Miranda  was an important client,  but assured

            her that he would deal with the problem.  

                      The culmination, as it were, of Miranda's  advances

            came on February 28, 1992.  Miranda called Rodriguez and told

            her he  would  come pick  her  up to  take  her to  a  motel.

            Rodriguez, upset  by Miranda's latest advance,  called Chavez

            to  complain about  Miranda's  call.    Chavez  responded  by

            defending Miranda, and  saying that Rodriguez should  respond

            to Miranda  "as a woman."   Rodriguez told Chavez  that if he

            would  do  nothing about  the situation,  she would  take her

            complaints to the Director of PREPA.

                      That weekend, Chavez flew to Puerto Rico.  On March

            9, 1992, Chavez  gave Rodriguez a  letter informing her  that

            she  was suspended  from work  for thirty  days.   The letter

            stated the reasons for her suspension as unauthorized  use of

            company property,  contracting  for services  in the  company

            name without  authorization, and  absenteeism.   On April  6,



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            Rodriguez  received  a  second  letter  dismissing  her  from

            employment at Occidental.  The grounds for her dismissal were

            an unexplained  imbalance of $157.00 in petty  cash funds and

            negligence  in executing daily  functions such as  picking up

            company mail,  as well as the  problems noted in the  March 9

            letter.   Rodriguez  had  never been  notified  of  any  such

            deficiencies before.



                                         II.

                      In  September of 1992,  Rodriguez filed a complaint

            against Occidental  and Chavez  with the  Anti-Discrimination

            Unit  of the  Puerto Rico  Department of  Labor and  with the

            Equal  Employment  Opportunity  Commission.   In  November of

            1992, while that  complaint was before the  agency, Rodriguez

            sued Miranda  in district  court under 42  U.S.C.    1983 for

            violations   of  her  rights  under  the  Fifth,  Ninth,  and

            Fourteenth  Amendments, and sued both Miranda and PREPA under

            Puerto Rico tort law and the Puerto Rico Constitution.

                      After  exhausting   her  administrative   remedies,

            Rodriguez received  a right-to-sue  letter from  the EEOC  in

            June of  1993 and  amended her complaint  to name  Chavez and

            Occidental  as defendants.   The  amended complaint  asserted

            claims under Title VII  of the Civil  Rights Act of 1964,  42

            U.S.C.    2000e-2000e-17, as well as claims under Puerto Rico

            law.  



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                                          6















                      In July of 1994, the district court issued an order

            eliminating some of  Rodriguez's claims.  The  district court

            dismissed  the    1983 claim,  but  not the  Puerto Rico  law

            claims, against  Miranda.  Thus  only Puerto Rico  law claims

            remained  against Miranda  and PREPA,  over  which the  court

            retained  jurisdiction under 28 U.S.C.    1367.  The district

            court granted summary  judgment in favor of  defendant Chavez

            on  Rodriguez's Title VII  claim against Chavez,  but allowed

            the Puerto Rico law claims against Chavez to go to  the jury.

            Thus the only federal claim that remained at the start of the

            trial was Rodriguez's  Title VII claim against  her employer,

            Occidental.  The  only claims which went to  the jury against

            Miranda were based on commonwealth law.

                      The  trial   was  hotly  contested   and  extremely

            contentious.  In the course  of the trial, the district court

            sanctioned  defense counsel for violating an order in limine.

            After a five week trial,  the jury held Occidental and Chavez

            liable  to  the plaintiff,  but found  Miranda and  PREPA not

            liable.   The jury form  simply asked that the  jurors answer

            yes or no as to whether each of the defendants was "liable to

            plaintiff  Sandra Rodriguez."  Rodriguez received an award of

            $200,000  in   compensatory  and  punitive   damages  against

            Occidental  and Chavez.    The  jury answered  no  as to  the

            commonwealth law claims against Miranda.





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                                          7















                      The  district  court awarded  Rodriguez  attorney's

            fees.    But  in  the   face  of  a  documented  request  for

            approximately $440,000 in  fees and costs, the  court awarded

            only $150,223.26.  The district court disallowed some work as

            duplicative,  some as having been performed by attorneys when

            the court thought it should have been done by paralegals, and

            further reduced the award because of the plaintiff's "lack of

            success."

                      Occidental and Chavez appeal from  the jury verdict

            in cases  number  96-1416 and  97-1444,  alleging a  host  of

            errors and  demanding a new  trial.  Defense  counsel Inserni

            appeals in case number 95-2027 from the contempt order issued

            against  him during the  trial.  Plaintiff  cross-appeals, in

            case  number 97-1445, arguing that the district court's award

            of attorney's fees was in error and insufficient.



                        III.  Appeal of Occidental and Chavez

            A.  Jury Inconsistency Argument
            _______________________________

                      Occidental and  Chavez's flagship  argument, simply

            put, is that because the jury did not find either  Miranda or

            PREPA  liable to Rodriguez,  Chavez and Occidental  cannot be

            held liable either.  Rodriguez  could not have been dismissed

            for refusing  to submit to  (or threatening  to complain  of)

            Miranda's  advances,  defendants  argue,   because  the  jury

            verdict  shows that Miranda  never engaged in  the conduct of



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                                          8















            which she  complains.   This  argument  is founded  upon  the

            erroneous assumption that the jury's verdict that Miranda and

            PREPA are not "liable to plaintiff" under Puerto Rico tort or

            constitutional  law necessarily means  that the jury  did not

            believe  that  Miranda made  unwanted  sexual advances,  that

            Rodriguez complained of these advances, and that her employer

            fired her in response.

                      The defendants'  argument fails, as the  jury could

            quite plausibly have  found a set of facts  that would render

            Chavez  and Occidental, but not Miranda and PREPA, "liable to

            plaintiff" on the claims asserted.

                      In  order to evaluate the defendants' arguments, it

            is important to  understand the nature of  the claims brought

            against each of the four  defendants in this case.  Rodriguez

            sued  the  customer, Miranda  and  PREPA on  two  theories --

            liability  under  Puerto  Rico  tort  law  and  violation  of

            Rodriguez's  rights to "privacy and dignity" under the Puerto

            Rico Constitution.   The jury  was instructed  that, to  find

            Miranda liable to the plaintiff in negligence, it had to find

            "that there was  an act or omission, by  fault or negligence,

            that caused the plaintiff's injury."  See P.R. Laws Ann. tit.
                                                  ___

            31,   5141  (1991) ("A person who  by act or omission  causes

            damage  to another  through  fault  or  negligence  shall  be

            obliged to repair  the damage so done.  Concurrent imprudence





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                                          9















            of  the party aggrieved  does not exempt  from liability, but

            entails a reduction in the indemnity.")

                      For  Miranda to be liable under the Constitution of

            Puerto Rico, the  jury was instructed that it  must find that

            Miranda "engaged  in  conduct  against  the  plaintiff  which

            adversely affected her dignity, honor, or reputation . . . ."

            See P.R. Const. art. II,   1 ("The dignity of the human being
            ___

            is  inviolable. .  . .  No  discrimination shall  be made  on

            account of .  . . sex  . . .  ."); P.R. Const.  art. II,    8

            ("Every person has the right to the protection of law against

            abusive  attacks  on  his honor,  reputation  and  private or

            family life.").  

                      If  Miranda was not liable to Rodriguez under these

            two  theories,  then  PREPA  could  not  be  found liable  to

            Rodriguez either.   PREPA's liability was only  in respondeat

            superior for the actions of Miranda.

                      Both of the claims as described to the jury contain

            an element  of causation.   The jury may simply  have decided

            that  Rodriguez's   injuries  resulted  not   from  Miranda's

            actions, but from  those of Chavez and Occidental.   Thus the

            jury may have  declined to hold  Miranda liable, not  because

            the jurors did not believe  that he made sexual advances, but

            rather  because they  concluded that  this  behavior did  not

            itself cause the harms Rodriguez suffered.





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                      In contrast, the  plaintiff asserted four different

            theories of liability  against Chavez under Puerto  Rico law,

            none of which is inconsistent with the jury's refusal to hold

            Miranda  and PREPA  liable.    In addition  to  the tort  and

            constitutional claims described above, Rodriguez sued  Chavez

            for  sex discrimination  and retaliatory  discharge.   Puerto

            Rico's Law 100  forbids sex discrimination by  employers, and

            provides for civil liability and damages.  See P.R. Laws Ann.
                                                       ___

            tit.  29,    146 (1995).   Puerto Rico's  Law 17  defines sex

            harassment  as  a  type of  sex  discrimination,  and forbids

            retaliation  against  persons  who  "reject"  the  employer's

            sexually discriminatory practices.   See P.R. Laws  Ann. tit.
                                                 ___

            29,    155-155l  (1995).  Under Puerto Rico  law, an employer

            is  held responsible  for  "the  acts  of  sexual  harassment

            towards his  employees  in  the work  place  by  persons  not

            employed by him if the  employer or his agents or supervisors

            knew or  should have known  of such conduct and  did not take

            immediate  and adequate  action  to correct  the  situation."

            P.R. Laws Ann. tit. 29,   155f.

                      The  plaintiff  also  sought  separation  pay  from

            Chavez  and Occidental for unjust dismissal under Puerto Rico

            Law 80.   See P.R. Laws Ann.  tit. 29,   185a  (1995) ("Every
                      ___

            employee  in  commerce .  .  .  who  is discharged  from  his

            employment without good  cause, shall be entitled  to receive

            from  his employer,  in addition  to the  salary he  may have



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            earned:  (a)  The  salary  corresponding  to  one  month,  as

            indemnity; (b) An additional progressive indemnity equivalent

            to  one  week for  each  year  of  service.").   Further,  in

            addition to the same four  causes of action under Puerto Rico

            law  asserted against  Chavez, Rodriguez sued  Occidental for

            sex discrimination under Title VII.

                      We  cannot, based on the jury form, determine which

            of   Rodriguez's  claims   against   Chavez  and   Occidental

            succeeded.  The jury was asked only to answer yes or no as to

            whether  each  defendant  was  "liable  to  plaintiff  Sandra

            Rodriguez."   The jury  could have  properly decided  to hold

            Chavez  and  Occidental  liable  because  they  discriminated

            against Rodriguez  on the basis  of her sex, or  because they

            retaliated  against her  for her  complaints about  Miranda's

            behavior.  

                      Sexual  harassment  is  an  unlawful  form  of  sex

            discrimination,  and both Chavez and Occidental could be held

            liable for sex  harassment on either of two  theories -- quid

            pro quo or hostile work environment.  

                      Under  the   quid  pro   quo  theory,   Rodriguez's

            continued  employment  was  conditioned  on  coerced  sex,  a

            condition that was  inherently linked to her  gender.  Puerto

            Rico  law, see  P.R. Laws  Ann.  tit. 29,    155f,  and other
                       ___

            circuits,  interpreting Title VII,  have said  that employers

            can be liable for a  customer's unwanted sexual advances,  if



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            the  employer  ratifies  or   acquiesces  in  the  customer's

            demands.  See  Folkerson v. Circus Circus  Enters., Inc., 107
                      ___  _________    ____________________________

            F.3d 754,  756 (9th  Cir. 1997).   This  is a  case in  which

            Rodriguez's employer  not only acquiesced  in the  customer's

            demands, but explicitly told her  to give in to those demands

            and satisfy the customer.  This conduct is clearly an example

            of  quid pro quo  sexual harassment, as  Rodriguez's employer

            conditioned her  future with the company on her responding to

            the unwanted sexual demands of a customer.

                      Under  the hostile work  environment theory  of sex

            discrimination,  the jury  could  have reasonably  found that

            Chavez and Occidental  had established a  working environment

            hostile to women.   The jury was instructed  that this theory

            of  sex discrimination  "involves  forms of  sexually-related

            misconduct which  are severe  and pervasive  and unreasonably

            interfere  with  work   performance  or  create  a   hostile,

            intimidating  or  offensive  working  environment.    It  can

            include  demeaning  comments  or  expectations  of  a certain

            sexual behavior in the workplace."  This environment would be

            a product not  only of Chavez's refusal to  do anything about

            Miranda's advances, but  also of incidents  such as the  1990

            Christmas party.

                      Likewise, the success  of a retaliation claim  does

            not  require  that  the alleged  wrongful  conduct  itself be

            illegal.   For her  retaliation claim  to succeed,  Rodriguez



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            merely needed to show that she "reasonably believed" that the

            conduct of  which she  complained or  threatened to  complain

            violated Title VII.  See Wyatt v. City of Boston, 35 F.3d 13,
                                 ___ _____    ______________

            15 (1st Cir. 1994);  Petitti v. New England Tel.  &amp; Tel. Co.,
                                 _______    ____________________________

            909 F.2d 28, 33 (1st  Cir. 1990); Drinkwater v. Union Carbide
                                              __________    _____________

            Corp.,  904 F.2d 853, 865 (3d  Cir. 1990) (noting that a long
            _____

            line  of  cases   holds  that  a  "plaintiff   establishes  a

            retaliation claim  if she  shows that  she  had a  reasonable

            belief  that  the   employer  was  engaged  in   an  unlawful

            employment practice and that the employer  retaliated against

            her for protesting that practice.").  The jury may have found

            that the close relationship between PREPA and Occidental made

            it  reasonable   for  Rodriguez  to  believe  that  Miranda's

            unwanted  advances  constituted  unlawful  sexual  harassment

            about which she had a right to complain.



            B.  Peremptory Challenges
            _________________________

                      Defendants   challenge    the   district    court's

            disallowance  of two of their peremptory challenges.  Because

            this  determination is fact-sensitive, we review it for clear

            error.   See Brewer v.  Marshall, 119 F.3d 993,  1004-05 (1st
                     ___ ______     ________

            Cir.  1997); see  also Purkett  v.  Elem, 514  U.S. 765,  767
                         _________ _______      ____

            (1995) (per  curiam).  Initial  juror selection in  this case

            began with a panel of  sixteen jurors containing nine men and





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                                          14















            seven   women.    The  court  then  granted  each  side  four

            peremptory challenges, leaving eight jurors.  

                      Plaintiff  objected to the  defendants' use  of all

            four of their peremptory challenges to exclude women from the

            jury panel, arguing  that these peremptory challenges  were a

            violation  of the  Equal Protection  Clause  under J.E.B.  v.
                                                               ______

            Alabama ex rel. T.B., 511  U.S. 127 (1994) (extending  Batson
            ____________________                                   ______

            v.  Kentucky, 476 U.S.  79 (1986) to  gender-based peremptory
                ________

            challenges in civil  cases).  The defendants  explained their

            challenges on gender-neutral grounds, but the  district court

            disallowed two of the peremptory challenges, stating that the

            explanations   were   merely    a   pretext   for    unlawful

            discrimination.

                      The  district  court  noted,  properly,  that   its

            decision  to disallow the two peremptory challenges was based

            on the totality of the  circumstances of the litigation.  See
                                                                      ___

            Hernandez  v. New  York,  500  U.S. 352,  364  (1991).   Upon
            _________     _________

            examination  of  the  judge's  justification  and  the  trial

            record,   we  do  not  find  his  decision  to  disallow  the

            peremptory challenges to be clearly erroneous.



            C.  Evidentiary Rulings
            _______________________

                      We review  a district  court's evidentiary  rulings

            for abuse  of discretion.   See General Elec. Co.  v. Joiner,
                                        ___ _________________     ______

            No. 96-188, 1997 WL 764563, at *3 (U.S.  Dec. 15, 1997); A.W.
                                                                     ____



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                                          15















            Chesterton Co. v. Chesterton, 128  F.3d 1, 9 (1st Cir. 1997).
            ______________    __________

            Errors in  evidentiary rulings are  harmless if it  is highly

            probable that  the error  did not affect  the outcome  of the

            case.  See Harrison v. Sears, Roebuck &amp; Co., 981 F.2d 25, 29-
                   ___ ________    ____________________

            30 (1st Cir. 1992).

            1.  Rulings under Rule 412
            __________________________

                      Defendants continually  sought to make an  issue of

            plaintiff's   sexual  history.     In  the  course   of  this

            litigation, defendants attempted  to paint  the plaintiff  as

            sexually insatiable,  as  engaging in  multiple affairs  with

            married men, as  a lesbian, and as suffering  from a sexually

            transmitted  disease.2  Defendants claimed that plaintiff had

            an  affair with  a  married  man that  caused  her to  become

            distracted from work, and led to the lapses for which she was

            fired.

                      Fed. R. Evid. 412 was designed to prevent misuse of

            a  complainant's sexual history  in cases  involving "alleged

            sexual misconduct."   In a civil case, the  sole exception to

            Rule 412's prohibition of evidence offered to prove "that any

            alleged  victim engaged  in other  sexual  behavior" or  "any

            alleged victim's sexual predisposition" is that

                    evidence offered to prove the sexual behavior
                    or  sexual  predisposition   of  any  alleged
                    victim  is  admissible  if  it  is  otherwise

                                
            ____________________

            2.  During  discovery,  defendants requested  that  plaintiff
            submit  to an  AIDS test,  apparently  to substantiate  their
            allegations of promiscuity.  The request was denied.

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                                          16















                    admissible   under   these  rules   and   its
                                                              ___
                    probative value  substantially outweighs  the
                    _____________________________________________
                    danger  of harm to  any victim and  of unfair
                    _____________________________________________
                    prejudice  to any  party.    Evidence  of  an
                    ________________________
                    alleged  victim's  reputation  is  admissible
                    only  if it has been placed in controversy by
                    the alleged victim.

            Fed.  R. Evid.  412(b)(2)  (emphasis added).   Rule  412 thus

            reverses the usual  approach of the Federal Rules of Evidence

            on admissibility  by requiring that the  evidence's probative

            value "substantially outweigh" its prejudicial effect.  

                      Rule  412  mandates procedural  safeguards  for the

            introduction of such evidence under the  412(b)(2) exception.

            A party intending  to offer such evidence must  file a motion

            specifically describing the evidence and its purpose at least

            fourteen days before trial, serve  the motion on all parties,

            and notify the alleged victim.  Before admitting the evidence

            the court  must conduct  an in camera  hearing to  afford the

            victim and parties  a right to be  heard.  See Fed.  R. Evid.
                                                       ___

            412(c).

                      The district court  ruled that evidence  concerning

            plaintiff's  moral character  or promiscuity and  the marital

            status of her boyfriend was inadmissible under Rule 412.  But

            the court  allowed defendants to introduce  evidence directly

            relevant  to  their   theory  that  plaintiff's  relationship

            distracted her from work.   The court also held that evidence

            concerning plaintiff's allegedly  flirtatious behavior toward





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                                          17















            Miranda  was   admissible  to  determine   whether  Miranda's

            advances were in fact "unwanted."

                      These  evidentiary  rulings  were  well within  the

            district  court's discretion.  The court struck an acceptable

            balance between the danger of undue prejudice and the need to

            present  the  jury  with relevant  evidence,  particularly in

            light of Rule 412's special standard of admissibility.

            2.  Rulings under Rule 403
            __________________________

                      Nor  is  there  any  abuse  of  discretion  in  the

            district  court's other evidentiary  rulings.  Under  Fed. R.

            Evid.  402,  all  relevant  evidence  is  admissible   unless

            otherwise provided  by federal law.   See Fed. R.  Evid. 402.
                                                  ___

            Under Fed. R. Evid. 403, relevant evidence may be excluded if

            its  probative value  is  "substantially  outweighed" by  the

            danger of prejudice or confusion.  See Fed. R. Evid. 403.  
                                               ___

                      Defendants  challenge  the   exclusion  of  certain

            telephone  records, rebuttal evidence  by some of plaintiff's

            co-workers, and an answering machine tape.  We agree with the

            district court  that the  testimony and  phone records  would

            have been, at best, cumulative.  The district court conducted

            lengthy proceedings  over the  admissibility of  an answering

            machine tape  produced by  Chavez that  purportedly contained

            several  messages from Rodriguez  to Chavez that  could imply

            that they had been intimate.   The defendants argue that this

            piece  of evidence would  have shown that  "plaintiff treated



                                         -18-
                                          18















            Chavez  affectionately and could not have been complaining of

            sexual harassment."  An FBI analysis of the voice on the tape

            was  inconclusive.    The  court  ruled  that  the  tape  was

            inadmissible under Fed. R. Evid.  403, and we agree that this

            dubious evidence had  minimal probative value, and  had great

            potential to confuse the jury.

                      Defendants complain of  a "double standard" because

            the  district   court  allowed   information  introduced   by

            plaintiff while excluding  evidence introduced by  defendant.

            The  court allowed evidence concerning the close ties between

            Occidental  and   PREPA,  including  evidence   of  political

            donations, Occidental's tax  status, the dancing show  at the

            1990  Christmas party,  and a  letter  regarding Occidental's

            sales volume.  In fact, as to the  excluded evidence, Fed. R.

            Evid. 412  required the  district court  to apply a  stricter
                       ________

            standard  with regard to admission of evidence of plaintiff's

            sexual history than to  the evidence admitted under the  more

            liberal standard of Fed. R.  Evid. 402 &amp; 403.   This evidence

            was  directly relevant to  the theory of  Rodriguez's case --

            that Chavez and Occidental were  willing to fire her when she

            complained about  Miranda in  order to  maintain their  close

            relationship with Miranda and PREPA.

                      Having  examined  each  of  the  district   court's

            evidentiary rulings, we find none that represents an abuse of

            its discretion.  Even if  the court's exclusions were  error,



                                         -19-
                                          19















            none of the excluded evidence would have had an impact on the

            outcome  of  the  trial,  as  it  would  have  at  best  been

            duplicative of evidence that was admitted.



            D.  Claims of Judicial Bias
            ___________________________

                      Occidental and Chavez argue that the district court

            judge's  admonitions to  defense counsel  evince bias,  which

            tainted  the jury  verdict.   They claim  that this  bias was

            further  demonstrated  by  the  judge's  rulings  on  defense

            counsel's peremptory  challenges, exclusion of  evidence, and

            his sanctioning defense counsel for violating an  evidentiary

            ruling under  Fed. R. Evid.  412.  The contested  rulings are

            discussed elsewhere, and they were  entirely proper.  Most of

            the comments  appellants complain  of were  made outside  the

            hearing of the jury.  

                      At the  very latest,  this claim  should have  been

            raised  in defendants'  Rule 50  motion  before the  district

            court.   It is  therefore waived.   See In  re Abijoe  Realty
                                                ___ _____________________

            Corp.,  943 F.2d  121, 126-27  (1st  Cir. 1991).   Claims  of
            _____

            judicial partiality  must be  raised at  the earliest  moment

            that a litigant becomes cognizant of the purported bias,  and

            certainly not for the first time on appeal.  See id.;  cf. In
                                                         ___ ___   ___ __

            re Marisol Martinez-Catala, 129 F.3d 213, 219 (1st Cir. 1997)
            __________________________

            (explaining  procedures  for  judicial  disqualification  and

            noting that "disqualification is almost never required  where



                                         -20-
                                          20















            the judge's opinions are based on the proceedings").  A party

            may not simply wait to see what outcome he or she receives in

            a trial before an allegedly  biased judge.  See In re  United
                                                        ___ _____________

            Shoe Mach. Corp., 276 F.2d 77, 79 (1st Cir. 1960).
            ________________

                      To allay any suspicions of judicial taint, however,

            we note  that, having read  the entire trial record,  we find

            none.   The isolated, occasional comments cited by appellants

            fall  far  short  of  prejudice  and do  not  come  close  to

            supporting  a contention that  defendants were deprived  of a

            fair trial.  See United States v. Devin, 918 F.2d 280, 294-95
                         ___ _____________    _____

            (1st Cir. 1990); Aggarwal v. Ponce Sch. of Med., 837 F.2d 17,
                             ________    __________________

            22 (1st Cir. 1988).  The judge's scattered critical  comments

            were largely made out of the jury's hearing, and usually were

            in  direct response  to defense  counsel's interruptions  and

            unsuitable conduct.   See United States  v. Polito, 856  F.2d
                                  ___ _____________     ______

            414,  418 (1st Cir.  1988) ("Charges of  partiality should be

            judged  not on an isolated comment  or two, but on the record

            as a whole.").  The  entirety of the record reveals  that the

            judge evinced  not bias, but  rather a desire to  conduct the

            trial  in as  civil a manner  as possible.   That  desire was

            evidently  not  shared  by counsel  for  the  defendants, and

            rebukes for this lack of civility were entirely warranted.



                       IV.  The Sanction Order Against Counsel

                      Attorney  Inserni  appeals   the  district  court's



                                         -21-
                                          21















            decision   to  sanction  him  for  violating  a  court  order

            prohibiting mention of matters such  as the marital status of

            plaintiff's boyfriend  without first  clearing such  evidence

            with the  court to allow it to make  a final Rule 412 ruling.

            During  plaintiff's  testimony,  the  court  ruled  that  the

            marital status of plaintiff's  boyfriend was not  admissible,

            and  admonished counsel to  approach the bench  before asking

            any  question that  might  raise  concerns  under  Rule  412.

            Attorney Inserni subsequently asked plaintiff's psychologist,

            in front  of the jury,  "Did [the plaintiff] tell  you during

            your interviews or during your clinical work on her case, did

            she ever  mention to you that she  had multiple relationships
                                          _______________________________

            with married men?"3   The district court  properly noted that
            ________________

            this  question violated  its  ruling,  rebuked counsel  after

            first dismissing  the jury,  and fined him  $500.   The court

            later instructed the jury that  counsel had violated a  court

            order  and  jurors  were to  disregard  the  question.   This

            response  was fully  justified, and  we find  no error.   See
                                                                      ___

            Polito, 856 F.2d at 418.  Inserni shall pay the costs  of his
            ______

            appeal to plaintiff.



                                V.  Plaintiff's Appeal

                      Rodriguez appeals the district court's reduction of

                                
            ____________________

            3.  We  add, as the  district court understood,  that defense
            counsel  knew from her deposition that the psychologist would
            answer "no" to that question.

                                         -22-
                                          22















            her  attorney's  fees  and  costs  award  from  approximately

            $440,000 to $150,223.26.  As  noted above, the district court

            justified  this reduction on  several grounds: duplication of

            effort by  plaintiff's attorneys,  the use  of attorneys  for

            "paralegal  work," and the plaintiff's lack  of success.  The

            court  uniformly cut the attorneys' requested hourly rates by

            fifteen  dollars, except  for Attorney  Berkan's out-of-court

            rate, which it cut by ten dollars.  The court reduced the fee

            request to $346,211.53, and then reduced this amount by sixty

            percent because of the plaintiff's "lack of success."

                      Starting  with the  "lodestar"  calculation of  the

            hours  worked by each  attorney multiplied by  the attorney's

            hourly rate, the  court deducted time that  it determined was

            duplicative  or unnecessary.  The court  deducted 97 hours of

            attorney time because  it viewed the  time spent on  indexing

            depositions as excessive, and agreed with defendants that the

            work was  a "paralegal task."   The court  noted a  number of

            entries on  plaintiff's counsels' time  sheets that suggested

            duplicative   efforts.    The  court  calculated  that  these

            duplicative  efforts  totaled  120 hours,  and  deducted this

            amount.  Thirteen more hours were deducted for excessive time

            in preparing the attorney's fees petition.

                      The  court  determined that  it  was  excessive for

            three  attorneys to  be present  at trial,  and  adjusted the

            hours so that  the time compensated amounted to  that of only



                                         -23-
                                          23















            two attorneys at any given time.  The court uniformly reduced

            the  requested  hourly  rates  of  Rodriguez's  attorneys  by

            fifteen dollars,  except for  Attorney Berkan's  out-of-court

            hourly rate,  which it  reduced by ten  dollars.   Because it

            determined that the plaintiff enjoyed only limited success in

            each  of  her theories  of  recovery, the  court  reduced the

            lodestar figure by sixty percent of the total amount.

                      Fee awards are reviewed  deferentially, and will be

            disturbed only for  mistake of  law or  abuse of  discretion.

            See Coutin  v. Young  &amp; Rubicam Puerto  Rico, Inc.,  124 F.3d
            ___ ______     ___________________________________

            331, 336  (1st Cir. 1997);  Lipsett v. Blanco, 975  F.2d 934,
                                        _______    ______

            936  (1st Cir. 1992)  (noting that "because  determination of

            the extent of a reasonable  fee necessarily involves a series

            of judgment calls,  an appellate court is far  more likely to

            defer  to the trial court  in reviewing fee computations than

            in many  other situations.").   Even  under this  deferential

            standard, however,  we  conclude that  the  district  court's

            attorney's fees orders must be vacated.

            A.  Lack of Success
            ___________________

                      The district court  reduced the fee award  by sixty

            percent  for  "lack  of success"  because  Rodriguez  did not

            prevail on all of her claims and she did not receive the full

            amount  of damages  she  sought.   According to  the district

            court,  the plaintiff "ultimately  succeeded on her  claim of

            retaliation" and  while the "unsuccessful  claim, the  sexual



                                         -24-
                                          24















            harassment  claim,  was  linked to  the  successful  claim of

            retaliation,  this fact alone does not preclude any reduction

            based on the failure to establish sexual harassment."

                      The district court did not  explain how it had come

            to  the  conclusion  that the  jury  had  decided Rodriguez's

            claims  in   this  way.     When  a  fee  award   is  reduced

            substantially, a more detailed explanation is in  order.  See
                                                                      ___

            Brewster v. Dukakis,  3 F.3d 488, 493 (1st Cir.  1993) ("As a
            ________    _______

            general rule, a  fee-awarding court that makes  a substantial

            reduction  in either documented  time or  authenticated rates

            should  offer reasonably explicit findings, for the court, in

            such circumstances, 'has  a burden to spell out  the whys and

            wherefores.'") (quoting  United States v.  Metropolitan Dist.
                                     _____________     __________________

            Comm'n, 847 F.2d 12, 18 (1st Cir. 1988)).   As our discussion
            ______

            in  part III.A above demonstrates,  the jury could have found

            that  Rodriguez's  sex harassment  claims against  Chavez and

            Occidental  succeeded, on  either a  quid pro quo  or hostile

            environment theory.  

                      The district court  may have made the  same mistake

            that  the defendants  have  made  in  arguing  that,  because

            Miranda was not  found liable, no "sex  harassment" occurred.

            As  noted, this  conclusion  is not  mandated  by the  jury's

            general verdict.   Neither did Rodriguez's sexual  harassment

            claims  fail when  the district  court  dismissed her  claims

            under  Title VII against  Chavez, as she  continued to pursue



                                         -25-
                                          25















            sex  discrimination claims under Puerto Rico law.  Indeed, it

            appears Rodriguez has "prevailed up and down the line" on her

            claims  against Chavez  and  Occidental,  in  which  case  "a

            claims-based,  results-obtained   fee  reduction   is  wholly

            inappropriate."  Coutin, 124 F.3d at 340.
                             ______

                      The  district  court's  reduction  of the  lodestar

            figure  by  sixty  percent  of  the  total   because  of  the

            plaintiff's "lack of success"  was error.  Three measures  of

            "success" pertain to civil rights lawsuits  such as this one:

            "plaintiff's success  claim  by  claim,  .  .  .  the  relief

            actually achieved, . . . [and] the societal importance of the

            right which has  been vindicated."  Coutin, 124  F.3d at 338.
                                                ______

            The plaintiff  was clearly  successful under  the latter  two

            definitions.  

                      Rodriguez  received  a substantial  monetary  award

            constituting full compensation  for her injuries, as  well as

            punitive damages.  The jury awarded Rodriguez all three types

            of  monetary compensation provided  for in the  verdict form:

            compensation  for back pay and/or front pay and other related

            job benefits;  punitive damages; and compensatory damages for

            her emotional and/or mental suffering.

                      Congress  has encouraged  private suits  to counter

            sex  discrimination through the  award of attorney's  fees to

            successful  litigants.  See City  of Riverside v. Rivera, 477
                                    ___ __________________    ______

            U.S. 561, 574-75 (1986) (plurality opinion); Coutin, 124 F.3d
                                                         ______



                                         -26-
                                          26















            at  337.  In  a civil rights  lawsuit, "[t]he result  is what

            matters," Hensley v. Eckerhart, 461 U.S. 424, 435 (1983), and
                      _______    _________

            in  this case plaintiff  apparently vindicated her  Title VII

            claim and  received substantial damages.   See also  Aubin v.
                                                       ________  _____

            Fudala, 782  F.2d 287, 291  (1st Cir.  1986) ("[A]  plaintiff
            ______

            should receive  significant fees  when he  has won a  partial
                                                                  _______

            victory on a civil rights claim while receiving substantially

            the relief he there sought .  . . .") (emphasis in original).

            Both the plaintiff's employer company and her boss were found

            liable for the harms she suffered.  

                      We  do   not  view  plaintiff's   claims  regarding

            Miranda's  unwanted  sexual advances  as  "unrelated" to  the

            claims upon  which she  prevailed such  that attorney's  fees

            should  not  be  awarded  for  pursuing  these  claims.   See
                                                                      ___

            Hensley, 461 U.S.  at 434-35.  Indeed, the close relationship
            _______

            between Occidental and PREPA, and between Chavez and Miranda,

            was a foundational element  of her claims against Chavez  and

            Occidental, and would  have needed  to be  developed even  if

            plaintiff had not  sued Miranda or PREPA.  It  was this close

            relationship  among   the  defendants   that  made   credible

            plaintiff's contentions that her boss asked her to respond to

            Miranda's  sexual advances  because  Miranda  and PREPA  were

            valued customers,  and that he  fired her  when she  refused.

            See id. at 440 ("Where  a lawsuit consists of related claims,
            ___ ___

            a  plaintiff who has  won substantial relief  should not have



                                         -27-
                                          27















            his  attorney's fee reduced simply because the district court

            did  not adopt each contention raised."); Scarfo v. Cabletron
                                                      ______    _________

            Sys., Inc., 54 F.3d 931, 962-66 (1st Cir. 1995).  Rodriguez's
            __________

            unsuccessful claims were based both on a common core of facts

            and on related legal theories.  See Hensley, 461 U.S. at 435.
                                            ___ _______

                      While it is  true that plaintiff's fee  request was

            more  than twice the  damages awarded, the  Supreme Court has

            held that the  size of the verdict does not  bar the recovery

            of large attorney's fees awards.   See City of Riverside, 477
                                               ___ _________________

            U.S. at 574-75; see also Coutin, 124 F.3d at 338 (discrepancy
                            ________ ______

            between award requested and received does not "amount to more

            than  one element  in the constellation  of factors  that the

            court  considers when  determining  the  quality  of  results

            obtained"); Foley  v. City  of Lowell, 948  F.2d 10,  19 (1st
                        _____     _______________

            Cir.  1991).   Thus,  because  the district  court  failed to

            articulate its reasons for finding "lack of  success," and no

            sound reasons are apparent in  the record, we must vacate its

            order and remand for reconsideration.

            B.  Other Fee Reductions
            ________________________

                      On remand, the district  court should also  revisit

            the reductions  for duplicative  efforts and  paralegal work.

            Of course,  ordinarily we  defer to  the court's  judgment on

            these  matters,  because staffing  issues  are  usually "best

            resolved  by the trial  court's application of  its intimate,

            first-hand  knowledge  of  a  particular  case's  nuances and



                                         -28-
                                          28















            idiosyncracies."  Lipsett, 975 F.2d at 939.  In setting fees,
                              _______

            the  district court has  "broad discretion to  determine 'how

            much was done, who did it, and how effectively the result was

            accomplished.'"   Id. (quoting  Wagenmann v. Adams,  829 F.2d
                              ___           _________    _____

            196, 224  (1st Cir.  1987)).   In the  "gray areas,"  such as

            deciding  whether a  given task  is properly  entrusted  to a

            paralegal,  "the   district  court's  judgment   carries  the

            greatest weight."   Id. at 940.  Clerical tasks  ought not to
                                ___

            be billed at lawyer's rates,  even if a lawyer performs them.

            See id. 
            ___ ___

                      Time spent  by two  attorneys on  the same  general

            task   is  not,  however,   per  se  duplicative.     Careful
                                        _______

            preparation often  requires collaboration and  rehearsal, and

            the court  should not  reward defendants  for their  vehement

            "Stalingrad  defense," a tactic they have continued to employ

            on  appeal.   Id.  at  939.    Indeed, because  a  litigant's
                          ___

            staffing  needs  and  preparation time  will  often  "vary in

            direct  proportion  to  the  ferocity  of  her   adversaries'

            handling of  the  case, this  factor  weighs heavily  in  the

            balance."  Id.   In this  case, the record  reveals that  the
                       ___

            defense was  indeed extreme.   As we  find that  the district

            court's   unexplained   reduction   for   lack   of   success

            independently requires a remand, we consider the entire issue

            open  for reconsideration  and need  not  decide whether  the





                                         -29-
                                          29















            other  alleged errors  in calculating  attorney's fees  would

            alone prompt reversal.



                                   VI.  Conclusion

                      To conclude, we find any residuum of claimed errors

            to be without merit and unworthy of extended discussion.  The

            jury verdict  is affirmed.   The award of attorney's  fees is
                             ________

            vacated,  and we  remand this  case for recalculation  of the
            _______

            attorney's fees award in accordance with this opinion.  Costs

            are awarded to Rodriguez.

































                                         -30-
                                          30









